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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 23-cr-257-TSC
                                     :
v.                                   :
                                     :
DONALD J. TRUMP,                     :
                                     :
            Defendant.               :
____________________________________:

                     RESPONSE IN OPPOSITION TO
               GOVERNMENT’S PROPOSED TRIAL CALENDAR




                               Ex. D
FILED: NEW YORK COUNTY CLERK 06/09/2023 04:13 PM                             INDEX NO. 452564/2022
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NYSCEF DOC. NO. 636                                                       2 of 3NYSCEF: 06/09/2023
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